
7 N.Y.2d 825 (1959)
The People of the State of New York, Respondent,
v.
Ramon Lopez, Appellant.
Court of Appeals of the State of New York.
Argued October 20, 1959.
Decided December 30, 1959.
Jack Strauss for appellant.
Frank D. O'Connor, District Attorney (Morton Greenspan of counsel), for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, VAN VOORHIS and BURKE. Judges DYE, FULD and FROESSEL dissent and vote to reverse and to dismiss the complaint upon the ground that defendant's guilt has not been established beyond a reasonable doubt.
Judgment affirmed (see People v. Liebenthal, 5 N Y 2d 876). No opinion.
